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                                   United States District Court
                                     Eastern District of Missouri
                                 Thomas F. Eagleton U.S. Courthouse
                                       111 South 10th Street
                                     St. Louis, Missouri 63102

Gregory J. Linhares                                                                                314-244-7900
  Clerk of Court

                                               July 12, 2018



    John N. Ellison
    REED SMITH LLP
    Three Logan Square
    1717 Arch St.
    Suite 3100
    Philadelphia, PA 19103

    RE:               HH St. Louis Railway LP et al v. Affiliated FM Insurance Company
    Case #            4:18-cv-01132

    Dear John N. Ellison:

    Please refer to Local Rule 12.01(F) for the Eastern District of Missouri concerning nonresident
    attorneys and the procedure to follow to be admitted to practice Pro Hac Vice in this Court. All
    pertinent information can be obtained from the Court’s website at www.moed.uscourts.gov,
    including the Verified Motion for Admission Pro Hac Vice form and the E-Filing registration
    form.

    If you have previously been issued a CM/ECF login and password by the Eastern District of
    Missouri, do not complete the online registration. Use the existing login information to e-file the
    Verified Motion for Admission Pro Hac Vice in the case in which you wish to enter.

    If you do not have a login and password, complete the online registration at
    http://ecf.moed.uscourts.gov/AttorneyReg/. E-mail the attorney name, bar number, and
    birthdate to Attorney_Admissions@moed.uscourts.gov. Enter Pro Hac Admission in the subject
    line. Complete the Verified Motion for Admission Pro Hac Vice and file the motion in the case
    in which you wish to appear using your newly issued CM/ECF login and password. Note: the
    Motion for Admission Pro Hac Vice cannot be filed by another attorney.

    Please note Local Rule 12.01(E) requires the payment of a prescribed fee. The fee is currently
    set at $100.00 payable upon filing of the motion via CM/ECF through Pay.gov.

    If you would like to apply for permanent admission in lieu of filing the motion for admission pro
    hac vice, that form can also be found on the Court’s website.

    If you have any questions, please do not hesitate to contact our office.
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Sincerely,
GREGORY J. LINHARES, CLERK OF COURT



By:    /s/Mavis Gaines
       Mavis Gaines
       Deputy Clerk

Enclosure(s)
